         Case 2:16-cr-20032-JAR Document 873 Filed 09/23/22 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )      Case No. 16-20032-02-JAR
                                                     )
KARL CARTER,                                         )
                                                     )
                      Defendant.                     )


                  SUPPLEMENTAL STATUS REPORT OF RECORDED
                         TELEPHONE CALL DISCOVERY

       COMES NOW the United States of America, by and through Steven D. Clymer, Special

Attorney, and Duston J. Slinkard, United States Attorney for the District of Kansas, and provides

the Court with the following report on the status of production of recorded telephone call

discovery related to the Federal Public Defender (“FPD”)’s Motion for Discovery (Doc. 572) and

the Court’s Order thereupon (Doc. 705):

       1. This report supplements the government’s Status Report of Recorded Telephone Call

Discovery filed August 27, 2019 (Doc. 764) and Supplemental Status Reports of Recorded

Discovery filed on October 10, 2019 (Doc. 787), November 14, 2019 (Doc. 799), February 14,

2020 (Doc. 806), August 18, 2020 (Doc. 846), October 30, 2020 (Doc. 848), July 6, 2021 (Doc.

854), and July 22, 2021 (Doc. 855).

       2. On April 11, 2022, the Court entered its Memorandum and Order (Doc. 868) granting

in limited part the FPD’s “Motion to Compel (Doc. 856) the government to identify, produce,

and disgorge any attorney-client communications that remain in its control, including those that

remain in the possession of law enforcement agencies.” Doc. 868 at 1.
         Case 2:16-cr-20032-JAR Document 873 Filed 09/23/22 Page 2 of 5




       3. The government created a list of defendants that met the criteria the Court established

in its Memorandum and Order, i.e., defendants in “cases where the USAO has previously

identified and surrendered CCA recordings to the Court that resulted in § 2255 motions alleging

Sixth Amendment claims regarding attorney-client communications.” Id.

       4. The government also identified the law enforcement agencies involved with

investigating those defendants and created a procedure for requesting review by those agencies.

       5. Once the government had both an identified list of defendants and involved agencies,

and a planned procedure, government counsel conferred with the FPD to determine if there was

agreement as to both the universe of defendants and the procedure. The FPD suggested an

adjustment to the procedure, which was incorporated by the government. However, the parties

did not ultimately reach agreement on the specific defendants that fell within the scope of the

Court’s order. See Attachments 1 and 2.

       6. The government moved forward to implement the procedure as to the 21 defendants

the government had originally identified, plus 5 additional defendants it added to its list after

conferring with the FPD, for a total of 26 defendants:

Catrell, Ronald                                       Piggie, Frenklyn
Clark, Enoch                                          Rapp, Gregory
Clifton, Julie                                        Read-Forbes, Mendy
Dixon, Dalevon                                        Roark, Jeffrey
Felix-Gamez, Ricardo                                  Shutts, Shawn
Fondren, Kevin                                        Sneed, Shawn
Griffin, Damon Douglas                                Spaeth, Matthew
Hohn, Steven                                          Tatum, Ataven
Irvin, Anthony                                        Tillman, Terry
Johnson, Booker                                       Villa-Valencia, Luis
Mitchell, William                                     Warren, Arrick
Ortega-Flores, Luis                                   Webb, Virok
Phommaseng, Petsamai                                  Wood, Brenda


                                                  2
         Case 2:16-cr-20032-JAR Document 873 Filed 09/23/22 Page 3 of 5




       7. The government sent each federal investigative agency identified as being involved

with the investigation of the cases of any of the foregoing defendants, a letter requesting their

assistance in complying with the Court’s Memorandum and Order (Doc. 868) with instructions

on what was needed, a copy of the Court’s Memorandum and Order, and a list of the relevant

cases with all identifying information about the case known to the government. The government

sent the same sort of request to the Kansas Bureau of Investigation, for all cases in which it was

identified as being involved. Where more than one federal agency was involved in the cases, the

case was included in the request to each such agency. Each federal agency, as well as the Kansas

Bureau of Information, was also requested to make inquiry of any other state or local

investigative agencies that had been involved in each particular case, and to include the results of

such inquiries when they provided their responses. See Attachments 3 (F.B.I.), 4 (A.T.F.), 5

(D.E.A.), 6 (K.B.I.), 7 (U.S.S.S.), and 8 (H.S.I.).

       8. For two defendants, William Mitchell and Frenklyn Piggie, the government’s records

did not reflect that any federal investigative agency or the Kansas Bureau of Investigation were

involved in the cases. Records indicated that Mr. Mitchell’s case was referred for prosecution by

the Lawrence, Kansas, Police Department, and the Douglas County, Kansas, Sheriff’s Office,

and Mr. Piggie’s case was referred for prosecution by the Lawrence, Kansas, Police Department.

The government reached out to each of those agencies to identify an appropriate contact and then

sent a letter requesting their assistance in complying with the Court’s Memorandum and Order

(Doc. 868) with instructions on what was needed and a copy of the Court’s Memorandum and

Order. See Attachments 9 (D.C.S.O.) and 10 (LPD).

       9. In addition, the government contacted the U.S. Marshals Service with respect to the 26


                                                  3
         Case 2:16-cr-20032-JAR Document 873 Filed 09/23/22 Page 4 of 5




defendants to see if they had any responsive materials. The U.S.M.S. reported that it had

provided all such materials to the Special Master during his investigation, but nonetheless

checked with respect to the 26 defendants and confirmed that it did not have responsive

materials.

       10. On July 11, 2022, the government submitted CCA recordings and derivative materials

to the Court, which were provided to the U.S. Attorney’s Office by four law enforcement

agencies. Along with its submission, the government provided the Court with a cover letter and

chart describing the materials. See Attachments 11 and 12.

       11. The Court granted the government an extension of time, until August 12, 2022, to

submit the balance of any responsive materials. See Doc. 872 (text entry).

       12. On August 12, 2022, the government submitted additional CCA recordings and

derivative materials to the Court. The government provided the Court with a cover letter and

chart describing those materials. See Attachments 13 and 14.

       13. As of this writing, all the agencies from whom assistance was requested have

responded that they have completed their searches and submitted all identified materials to the

U.S. Attorney’s Office, retaining no copies of any attorney client communications. Additionally,

all materials received by the U.S. Attorney’s Office from those agencies have been delivered to

the Court. Accordingly, the government believes that with the filing of this status report it has

now fully complied with all the requirements of the Court’s Memorandum and Order (Doc. 868).

       14. Because prior disclosure had been made with respect to each of the individuals for

whom disclosures were made on July 11, 2022 and August 12, 2022, the disclosure of these

additional materials does not change the total of individuals for whom materials were found and


                                                 4
          Case 2:16-cr-20032-JAR Document 873 Filed 09/23/22 Page 5 of 5




disclosed previously reported to the Court.

                                                Respectfully submitted,

                                                s/Duston J. Slinkard
                                                Duston J. Slinkard, #21294
                                                United States Attorney
                                                444 SE Quincy Street, Room 290
                                                Topeka, KS 66683
                                                Phone: (785) 295-2850
                                                Fax: (785) 295-2853
                                                duston.slinkard@usdoj.gov




                                  CERTIFICATE OF SERVICE

        I hereby certify that on 23rd day of September 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to the counsel of record in this case.



                                                s/Duston J. Slinkard
                                                Duston J. Slinkard
                                                United States Attorney




                                                   5
